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UNITED STATES DISTRICT COURT | EASTERN
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO
Civil Action No. 10-1293

Ellis Joseph, et. al.

Vs.

Superior Homes, LLC, et al.

$.b8
DISTRICT OF LOUISIANA\

SECTION N MAG. 5
LORETTA G. WHYTE
CLERK

MDL NO. Tic. ocT 15 200

JUDGE ENGELHARDT
MAGISTRATE CHASEZ

JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-

referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 13, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

Superior Homes, LLC

Fluor Enterprises, Inc.

